           Case 5:16-cr-50015-TLB                      Document 128            Filed 10/27/16        Page 1 of 6 PageID #: 686
AO 245 6 ( Rev. 10/ 15) Judgment in a Crim inal Case
                          Sheet I



                                            UNITED S TATES DISTRICT C OURT
                                                           Western District of Arkansas
                                                                           )
               UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                                     v.                                    )
                                                                           )
                       MICHAEL McELROY                                               Case   umber:          5:16CR50015-002
                                                                           )
                                                                           )         USM Number:            14242-010
                                                                           )
                                                                           )         Mauricio A. Herrera
                                                                           )         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)           One(!) of the Indictment on July 11 , 2016.

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjud icated guilty of these offenses:

Title & Section                     Nature of Offense                                                         Offense Ended·          Count
18 U.S.C. §§ 1344(2) and            Conspiracy to Commit Bank Fraud                                             11 /03/20 15             l
1349




The defendant is sentenced as provided in pages 2 through - "'-6- of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
D The defendant has been fo und not guilty on count(s)
X Counts Two (2), Three (3 ) , and the Forfeiture Allegation are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or mailing
address until all fines, restitution, costs, and spec ial assessments imposed by this judgment are full y paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          Honorable Timoth L. Brooks United States District Judge
                                                                          Name and Title of Judge


                                                                          o.,Ot ~1 I ;2.j b
AO 245 8 (Rev. 10/ 15) Judgment in C1i mi na l Case
           Case 5:16-cr-50015-TLB                     Document 128           Filed 10/27/16          Page 2 of 6 PageID #: 687
                         Sheet 2 -    lmp1i sonment

                                                                                                          Judgment -   Page __2__ of            6
 DEFENDANT:                          MICHAEL McELROY
 CASE NUMBER:                        5: l 6CR500 15-002

                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned fo r a
 total term of:     thirteen (13) months on Count One (1) of the Indictment to run consecutively to any undischarged term of
 imprisonment he is serving in state court.




     X The court makes the fo llowing recommendations to the Bureau of Prisons:
           That the defendan t be placed in a course(s) to obtain or work toward obtaining his GED and that the defendant be precluded from
           participating in other programs while incarcerated until such time.
           That the defendant be designated to a fac ili ty where he has the opportuni ty to be considered fo r placement in a drug treatment program.



     X The defendant is remanded to the custody of the Uni ted States Marshal.

     D T he defendant shall surrender to the Uni ted States Marshal fo r this district:
           D at - - - - - - - -- - D a. m.                       D p.m.        on

           D as notified by the United States Marshal.

     D The defendant shall surrender fo r service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretria l Services Office.


                                                                     RETURN
 I have executed this j udgment as fo llows:




           Defendant delivered on                                                           to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this j udgment.



                                                                                                       UN ITED STATES MARS HAL


                                                                            By
                                                                                                  DEPUTY U !TED STATES MARS HAL
AO 245B (Rev. I0115) Judgment in a Criminal Case
        Case 5:16-cr-50015-TLB
                      Sheet 3 - Supervised Release
                                                   Document 128              Filed 10/27/16           Page 3 of 6 PageID #: 688
                                                                                                            Judgment- Page _ _
                                                                                                                             3_      of         6
DEFENDANT:                    MICHAEL McELROY
CASE NUMBER:                  5: 16CR50015-002
                                                         SUPERVISED RELEASE

Upon release fro m imprisonment, the defendant shall be on supervised release for a tem1 of:             three (3) years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal , state or loca l crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a contro lled
substance. T he defendant sha ll submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

X        The defendant sha ll not po se    a firearm , ammunition, destructive device, or any other dangerous weapon. {Check. if applicable.)

x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comp ly with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 1, et eq.)
D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. {Check, if applicable.)

D        The defendant shall participate in an approved program for domestic vio lence. (Check, if applicable.)
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
T he defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condi tions on the
attached page.

                                          ST AND ARD CONDITIONS OF SUPERVISION
    1)     the defendant sha ll not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and freq uency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other fami ly responsibilities ;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptab le reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in re idence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          contro lled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          fe lony, unless granted permission to do so by the probation officer;
 10)      the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pern1it confiscation of any
          contraband observed in plain view of the probation officer;
 1I )     the defendant sha ll notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant sha ll not enter into any agreement to act as an informer or a specia l agent of a law enforcement agency without the
          perm1ss10n of the court; and
 13)      as directed by the probation officer, the defendant sha ll notify third parties of risks that may be occasioned by the defendant's criminal
          record or per onal history or characteristics and sha ll permit the probation officer to make such notifications and to conftm1 the
          defendant's comp liance with such notification requirement.
AO 2458 (Rev. 10/ 15) Judgment in a Criminal Case
        Case     5:16-cr-50015-TLB
        Sheet 3C - Supervi sed Release
                                                    Document 128         Filed 10/27/16           Page 4 of 6 PageID #: 689
                                                                                                        Judgment- Page - -
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DEFENDANT:                   MICHAEL McELROY
CASE NUMBER:                 5: 16CR50015-002

                                          SPECIAL CONDITIONS OF SUPERVISION
I. The defendant shall submit to inpatient and/or outpatient mental health evaluation, counseling, testing, and/or treatment, as may be deemed
necessary and as directed by the U.S. Probation Office.
2. The defendant hall submit to inpatient or outpatient substance abuse evaluation, counseling, testing, and/or treatment, as may be deemed
necessary and as directed by the U.S . Probation Office.
3. The defendant shall submit his person, residence, place of employment, and vehicle to a search to be conducted by the U.S. Probation Office
at a reasonable time and in a reasonable manner based on any reasonable susp icion that evidence of any violation of conditions of supervised
release might thereby be disclosed.
4. Regarding the already standard condition of employment, the Court specifica lly instructs that while the defendant is on supervised release,
he obtain substantial, full -time, gainful employment, and to the extent that he is not so employed, he must be actively engaged in looking fo r
full-time employment. The Court further noted that "actively engaged" wi ll require the defendant to keep a logbook of all of the defendant's
efforts in looking to secure employment and to make that logbook available to his U.S . Probation Officer for review upon request. If the U.S.
Probation Officer believes that the efforts do not represent the defendant' s sincere attempts and ubstantial attempts to find employment, the
Court requests that the U.S. Probation Officer inunediately bring this info rmation to the Court' s attention and/or if any of the info rmation in
the logbook is detem1ined to be inaccurate that the Court be notified as well.
         Case
AO 2458 (Rev.      5:16-cr-50015-TLB
              1011 5) Judgment in a Criminal Case   Document 128             Filed 10/27/16          Page 5 of 6 PageID #: 690
         Sheet 5 - Cri minal Monetary Penalties
                                                                                                      Judgment -   Page     5      of         6
DEFENDANT:                          MICHAEL McELROY
CASE NUMBER:                        5: 16CR50015-002
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                         Fine                               Restitution
 TOTALS              $ 100.00                                           $ 900.00                          $ -0-



 D The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (A O 245C) will be entered
                                                           ----
      after such determination.

 D The defendant must make restitution (including communi ty restitution) to the fo llowing payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approx imate ly propor!ioned J?ayment, unless spec ified otherwise in
      the priority order or percentage payment co lumn below. However, pursuant to 18 U. S.C. § 3664(t), all nonfederal vtcttms must be paid
      before the United States is paid.

 Name of Pavee                                  Total Loss*                        R estitution Ordered                   Priority or Percentage




 TOTALS                               $


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fin e of more than $2 ,500, unless the restitution or fine is paid in full before the
       fi fteenth day after the date of the judgment, pursuant to 18 U.S .C. § 361 2(£) . All of the payment options on Sheet 6 may be subj ect
       to penalties fo r delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

 X     T he court detem1ined that the defendant does not have the ability to pay interest and it is ordered that:

       X the interest requirement is waived fo r the           X fine     D restitution.
       D the interest requirement fo r the          D   fine    D restitution is modified as fo llows:

* Findings fo r the tota l amount oflosses are required under Chapters 109A, 11 0, 11 OA, and l l 3A of Ti tle 18 fo r offenses committed on or afte r
September 13, 1994 , but before April 23 , 1996.
AO 245 8 (Rev. 10115) Judgment in a Cti mina l Case
          Case 5:16-cr-50015-TLB
         Sheet 6 - Schedu le of Payments
                                                      Document 128               Filed 10/27/16             Page 6 of 6 PageID #: 691
                                                                                                                  Judgment -   Page      6     of           6
 DEFENDANT:                    MICHAEL McELROY
 CASE NUMBER:                  5: 16CR50015-002


                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as fo llows:

 A     X     Lump sum payment of              1,000.00            due immediately, balance due

             D      not later than                                     , or
             X      in accordance           D C,      O D,        O     E, or      X F below; or
 B     D     Payment to begin immediate ly (may be combined with                o c,         D D, or       D F below); or
 C     D     Payment in equal                          (e.g., weekly, monthly. quarterly) installments of $                              over a period of
                             (e.g.. months or years), to conunence                       (e.g.. 30 or 60 days) after the date of this j udgment; or

 D     O     Payment in equal                          (e.g., weekly. monthly, quarterly) installments of $                            over a period of
                             (e.g., months or years), to commence                        (e.g. , 30 or 60 days) after release fro m imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release fro m
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     X     Special instructions regarding the payment of criminal monetary penalties:
             If not paid immediately, any unpaid fi nancial penalty shall be paid by the defendant dur ing his term of imprisonment at a rate of up
             to 50% of the defendant's available funds, in accordance with the Inmate Financial Responsibility Program. During residential reentry
             placement, fayments will be 10% of the defendant's gross monthly income. The p ayment of any remainin¥ balance shall become a
             condition o supervised release and shall be paid in monthl y installments of $3 5.00 or 15% of the defendant s net monthly household
             income, whichever is greater, with the entire balance to be paid in fu ll no later than one month prior to the end of the period of
             supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

T he defendant shall receive credit fo r all payments previously made toward an y criminal monetary penalties imposed.




 D     Joint and Several


       Defendant and Co-Defendant Names and Case N umbers (including defendant number), Total Amount, Joint and Severa l Amo unt,
       and corresponding payee, if appropriate.




 D     T he defendant shall pay the cost of prosec ution.

D      The defe ndant shall pay the fo llowing court cost(s):

D      The defenda nt shall fo rfe it the defendant's interest in the fo llowing property to the United States :


Payments sha ll be applied in _the fo J!ow_ing order: ( I ) assessment, (2) restituti~n principal, (3) restitution interest, (4) fi ne principal,
(5) fi ne mterest, (6) communi ty restitution, (7) penalties, and (8) costs, mclud mg cost of prosecution and court costs.
